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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ARMANDO SERRANO,
Plaintiff, Case No. l:l7-cv-02869
v_ Hon. Manish S. Shah

Magistrate Judge Jeffrey Cole
REYNALDO GUEVARA, et al.,

 

Defendants.
JGSE MONTANEZ,
/_`
Plaintiff, Cas No. l:l7-cv-04560
v_ Hon. Manish S. Shah

Magistrate Judge Jeffrey Cole
REYNALDO GUEVARA, et al.,

Defendants.

 

 

 

AGREED CONFIDENTIALITY ORDER

The parties to this Agreed Confldentiality Order have agreed to the terms of this Order;
accordingly, it is ORDERED:

1. Scope. All materials produced or adduced in the course of discovery, including,
initial disclosures, responses to discovery requests, deposition testimony and exhibits, and
information derived directly therefrom (hereinafter collectively “documents”), shall be subject to
this Order concerning Coniidential Information as defined below except those materials that are
already in the public domain or those materials that have already been produced to any opposing
party or third parties in other litigations and were not subject to any protective order or similar

order or agreement as to their confidentiality or use... This Order is subject to the Local Rules of

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this District and the Federal Rules of Civil Procedure on matters of procedure and calculation of
time periods.

Confidential Information. AS used in this Order, “Confldential lnformation"’ means information
designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” by the producing party
that falls within one or more of the following categories: (a) information protected from disclosure
by statute, including the Illinois Freedom of Information Act (FOIA), 5 ILCS 140/1, et seq; (b)
information that reveals trade secrets; (c) research, technical, commercial or financial information
that the party has maintained as confidential; (d) medical information concerning any individual;
(e) personal identity information; (f) income tax returns (including attached schedules and forms),
W-Z forms and 1099 forms; (g) personnel or employment records ofa person who is not a party
to this case; (h) employment, disciplinary, or other information that is ofa sensitive or non-public
nature regarding plaintiffs, defendants, non-party witnesses, non-party employees of the City of
Chicago and non-party employees of the Cook County State’s Attorney’s Office. Such
information includes, but is not limited to, private information in personnel files, such as
employment applications, performance evaluations, tax forms, requests for medical leave and the
like as well as personal and family information of police officers and state’s attorneys, including
residential information; and (i) any information contained within the following file materials that
are otherwise prohibited from public disclosure by statute1

Any disciplinary actions, files and attachments to such files generated by the investigation
ofdeaths in custody, uses ofdeadly force, and Complaints ofmisconduct by Chicago police officers
(generally referred to as “Log Number” files, “Complaint Register" files, “Universal” files, or
“Extraordinary Occurrence” files; and hereinafter referred to as “CR Files"’ or “Log Files”). All

CR files disclosed subject to this protective order will not be redacted except as specifically agreed

 

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to by the parties to redact sensitive information (including SSN, DOB, home addresses and
materials subject to the Juvenile Court Act, etc.)The parties reserve the right to seek greater
protection of information or documents designated as Confidential lnformation through Court
intervention or by agreement of the parties.

2. Designation.

(a) A party may designate a document as Confidential lnformation for protection under
this Order by placing or affixing the words “CONFIDENTIAL - SUBJECT TO PROTECTIVE
ORDER” on the document and on all copies in a manner that will not interfere with the legibility
of the document. As used in this Order, “copies” includes electronic images, duplicates, extracts,
summaries or descriptions that contain the Confidential Information. The marking
“CONFIDENTIAL - SUBJECT TO PROTECTIVE GRDER” shall be applied prior to or as soon
as practicable after the documents are produced or disclosed. Applying the marking
“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” to a document does not mean that
the document has any status or protection by statute or otherwise except to the extent and for the
purposes of this Order. Any copies that are made of any documents marked “CONFIDENTIAL -
SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except that indices, electronic
databases or lists of documents that do not contain substantial portions or images of the text of
marked documents and do not otherwise disclose the substance of the Confidential Information
are not required to be marked.

(b) The designation of a document as Confidential lnformation is a certification by an
attorney or a party appearing pro se that the document contains Confidential Information as

defined in this order.

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(c) lf documents were produced without the protections of any confidentiality order, it is
presumed that the documents are not confidential, but any party can file a motion in this case
asking the Court to deem said documents confidential Upon written notice to all parties that a
party will be seeking that the Court deem certain documents confidential, all parties will treat those
documents as confidential until such time as the Court resolves the motion.

3. Depositions.

Alternative A. Deposition testimony is protected by this Order only if designated as
“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” on the record at the time the

testimony is taken. Such designation shall be specific as to the portions that contain Confidential

 

Information. Deposition testimony so designated shall be treated as Confidential lnformation
protected by this Order until fourteen days after delivery of the transcript by the court reporter to
any party or the witness. Within fourteen days after delivery of the transcript, a designating party
may serve a Notice of Designation to all parties of record identifying the specific portions of the
transcript that are designated Confidential Information, and thereafter those portions identified in
the Notice of Designation shall be protected under the terms of this Order. The failure to serve a
timely Notice of Designation waives any designation of deposition testimony as Confidential
lnformation that was made on the record of the deposition, unless otherwise ordered by the Court.

4. Protection of Confidential Material.

(a) General Protections. Confidential Information shall not be used or disclosed by
the parties, counsel for the parties or any other persons identified in subparagraph (b) for any
purpose whatsoever other than in this litigation, including any appeal thereof

(b) Limited Third-Party Disclosures. The parties and counsel for the parties shall

not disclose or permit the disclosure of any Confidential Information to any third person or entity

 

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except as set-forth in subparagraphs (l)-(9). Subject to these requirements, the following

categories of persons may be allowed to review Confidential Information:

(1)

(2)

(3)
(4)

(5)

(6)

(7)

(3)

(9)

(€)

Counsel. Counsel for the parties and employees of counsel who have responsibility
for the preparation and trial of the action;

Parties. lndividual parties and employees ofa party but only to the extent counsel
determines in good faith that the employee’s assistance is reasonably necessary to
the conduct of the litigation in which the information is disclosed;

The Court and its personnel;

Court Reporters and Rccorders. Court reporters and recorders engaged for
depositions;

Contractors. Those persons specifically engaged f`or the limited purpose of
making copies of documents or organizing or processing documents, including
outside vendors hired to process electronically stored documents;

Consultants and Experts. Consultants, investigators, or experts employed by the
parties or counsel for the parties to assist in the preparation and trial of this action
but only after such persons have completed the certification contained in
Attachment A, Acknowledgment of Understanding and Agreement to Be Bound;

Witnesses at depositions During their depositions, witnesses in this action to
whom disclosure is reasonably necessary. Witnesses shall not retain a copy of`
documents containing Confidential lnformation, except witnesses may receive a
copy of all exhibits marked at their depositions in connection with review of the
transcripts Pages of transcribed deposition testimony or exhibits to depositions
that are designated as Confidential Information pursuant to the process set out in
this Order must be separately bound by the court reporter and may not be disclosed
to anyone except as permitted under this Order.

Author or recipient. The author or recipient of the document (not including the
person who received the document in the course of the litigation); and

Others by Consent. Other persons only by written consent ofthe producing party
or upon order of the Court and on such conditions as may be agreed or ordered.

Control of Documents. Counsel for the parties shall make reasonable efforts to

prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel shall

maintain the originals of the forms signed by persons acknowledging their obligations under this

Order for a period of three years after the termination of the case.

 

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5. Inadvertent F ailure to Designate. An inadvertent failure to designate a document
as Confidential Information does not, standing alone, waive the right to so designate the document;
provided, however, that a failure to serve a timely Notice of Designation of deposition testimony
as required by this Order, even if inadvertent, waives any protection for deposition testimony. lf
a party designates a document as Confidential Information after it was initially produced, the
receiving party, on notification of the designation, must make a reasonable effort to assure that the
document is treated in accordance with the provisions of this Order. No party shall be found to
have violated this Order for failing to maintain the confidentiality of material during a time when
that material has not been designated Confidential Information, even where the failure to so
designate was inadvertent and where the material is subsequently designated Confidential
Information.

6. Filing of Confidential Information. This Order does not, by itself, authorize the
filing of any document under seal. Any party wishing to file a document designated as
Confidential Inforrnation in connection with a motion, brief or other submission to the Court must
comply with Local Rule 26.2.

7. Challenges by a Party to Designation as Confidential Information. The
designation of any material or document as Confidential Information is subject to challenge by
any party. The following procedure shall apply to any such challenge

(a) Meet and Confer. A party challenging the designation of Confidential Information
must do so in good faith and must begin the process by conferring directly with counsel for the
designating party. In conferring, the challenging party must explain the basis for its beliefthat the
confidentiality designation was not proper and must give the designating party an opportunity to

review the designated material, to reconsider the designation, and, if no change in designation is

 

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offered, to explain the basis for the designation The designating party must respond to the
challenge within five (5) business days.

(b) Judicial Intervention. A party that elects to challenge a confidentiality
designation may file and serve a motion that identifies the challenged material and sets forth in
detail the basis for the challenge Each such motion must be accompanied by a competent
declaration that affirms that the movant has complied with the meet and confer requirements of
this procedure The burden of persuasion in any such challenge proceeding shall be on the
designating party. Until the Court rules on the challenge, all parties shall continue to treat the
materials as Confidential lnformation under the terms of this Order.

8. Action by the Court. Applications to the Court for an order relating to materials
or documents designated Confidential Information shall be by motion. Nothing in this Order or
any action or agreement of a party under this Order limits the Court’s power to make orders
concerning the disclosure of documents produced in discovery or at trial.

9. Use of Confidential Information at Trial. Nothing in this Order shall be
construed to affect the admissibility of any document, material, or information at any trial or
hearing. A party that intends to present or which anticipates that another party may present
Confidential Information at a hearing or trial shall bring that issue to the Court’s and parties’
attention by motion or in a pretrial memorandum without disclosing the Confidential Information.
The Court may thereafter make such orders as are necessary to govern the use of such documents

or information at trial.

 

 

 

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10. Confidential Information Subpoenaed or Ordered Produced in Other
Litigation.

(a) lf a receiving party is served with a subpoena or an order issued in other litigation
that would compel disclosure of any material or document designated in this action as Confidential
Information, the receiving party must so notify the designating party, in writing, immediately and
in no event more than three court days after receiving the subpoena or order. Such notification
must include a copy of the subpoena or court order.

(b) The receiving party also must immediately inform in writing the party who caused
the subpoena or order to issue in the other litigation that some or all of the material covered by the
subpoena or order is the subject of this Order. In addition, the receiving party must deliver a copy
of this Order promptly to the party in the other action that caused the subpoena to issue.

(c) The purpose of imposing these duties is to alert the interested persons to the
existence of this Order and to afford the designating party in this case an opportunity to try to
protect its Confidential lnformation in the court from which the subpoena or order issued. The
designating party shall bear the burden and the expense of seeking protection in that court of its
Confidential Information, and nothing in these provisions should be construed as authorizing a
receiving party in this action to disobey a lawful directive from another court. The obligations set
forth in this Paragraph remain in effect while the party has in its possession, custody or control
Confidential Inforrnation by the other party to this case.

11. Challenges by Members of the Public to Sealing Orders. A party or interested
member of the public has a right to challenge the sealing of particular documents that have been
filed under seal, and the party asserting confidentiality will have the burden of demonstrating the

propriety of filing under seal.

 

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12. Obligations on Conclusion of Litigation.

(a) Order Continues in Force. Unless otherwise agreed or ordered, this Order shall
remain in force after dismissal or entry of final judgment not subject to further appeal.

(b) Obligations at Conclusion of Litigation. Within sixty-three days after dismissal
or entry of final judgment not subject to further appeal, all Confidential Information, documents
marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be returned to the
producing party unless: (l) the document has been offered into evidence or filed without
restriction as to disclosure; (2) the parties agree to destruction in lieu of return; or (3) as to
documents bearing the notations, summations, or other mental impressions of the receiving party,
that party elects to destroy the documents and certifies to the producing party that it has done so.

(c) Retention of Work Product and one set of Filed Documents. Notwithstanding
the above requirements to return or destroy documents, counsel may retain (l) attorney work
product, including an index that refers or relates to designated Confidential Inforrnation so long as
that work product does not duplicate verbatim substantial portions of Confidential Information,
and (2) one complete set of all documents filed with the Court including those filed under seal.
Any retained Confidential Information shall continue to be protected under this Order. An attorney
may use his or her work product in subsequent litigation, provided that its use does not disclose or
use Confidential Information.

(d) Deletion of Documents Filed under Seal from Electronic Case Filing (ECF)
System. Filings under seal shall be deleted from the ECF system only upon order of the Court.

13. Order Subject to Modif`lcation. This Order shall be subject to modification by
the Court on its own initiative or on motion ofa party or any other person with standing concerning

the subject matter.

 

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l4. N0 Prior Judicial Determination. This Order is entered based on the
representations and agreements of the parties and for the purpose of facilitating discovery. Nothing
herein shall be construed or presented as a judicial determination that any document or material
designated Confidential Information by counselor the parties is entitled to protection under Rule
26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the Court may rule
on a specific document or issue.

15. Persons Bound. This Order shall take effect when entered and shall be binding
upon all counsel of record and their law firms, the parties, and persons made subject to this Order
by its terms.

16. Public Disclosure of Documents Designated “Conf"ldential.” This Order
prohibits the disclosure of any document designated as a “confidential” subject to the limitations
of Section 4(b). Any party or counsel seeking to use or disclose confidential information for any
reason other than for purposes of this litigation, including for public disclosure, will not use the
documents designated as “Confidential” but shall instead comply with the requirements set forth
under the Illinois Freedom of Information Act (“IFOIA”), 5 ILCS l40/et., to obtain the desired

documents from the proper public body.

So Ordered.

Dated; U[.`l 02 2013 ,2018

 
 
 

  
     

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ATTACHMENT A

IN THE UNITED STATES DISTRICT COURT
F()R THE NORTHERN DISTRICT OF ILLINOlS

EASTERN DIVISION
ARMANDO SERRANO,
Plaintiff, Case No. l:l7-cv-02869
V_ Hon. Manish S. Shah

Magistrate Judge Jeffrey Cole
REYNALDO GUEVARA, et al.,

 

Defendants.
JOSE MONTANEZ,
Plaintiff, Case No. l:l7-cv-()456O
V. Hon. Manish S. Shah

l\/lagistrate Judge Jeffrey Cole
REYNALDO GUEVARA, et al.,

Defendants.

 

 

ACKNOWLEDGMENT AND AGREEMENT T() BE BOUND

The undersigned hereby acknowledge that he/she has read the Confidentiality Order

dated in the above-captioned action and attached hereto, understands

 

the terms thereof, and agrees to be bound by its terms. The undersigned submits to the
jurisdiction of the United States District Court for the Northem District of lllinois in matters
relating to the Confidentiality Order and understands that the terms of the Confidentiality Order
obligate him/her to use materials designated as Confidential Information in accordance with the
Order solely for the purposes of the above-captioned action, and not to disclose any such

Confidential Inforrnation to any other person, firm or concern.

 

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The undersigned acknowledges that violation of the Confidentiality Order may result in
penalties for contempt of court.

Name:

 

Job Title:

 

Employer:

 

Business
Address:

 

 

 

Date: Signature:

 

